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AFFIDAVIT OF JOSEPH GIANNINI

STATE OF NEW YORK Ss:
COUNTY OF SUFFOLK .

My name is Joseph Giannini. I reside at 90 Isle of Wight, East Hampton, New York. I
swear to the following:

1. I was born in 1943 in Kings County, New York. In January 1966 I graduated from
Hofstra University. On March 15, 1966 I enlisted in the U.S.M.C. While at Parris Island I
applied to Officer Candidate School, was accepted, and in December 1966 was commissioned as
a 2™ Lieutenant. I volunteered for Vietnam and did my tour as a Marine Infantry Officer with the
First Battalion, Third Marines (“The Home of The Brave”) from 1967-1968. I rotated home in
July 1968, coincidentally the same month Robert Mueller arrived in country as a Marine Infantry
Officer and joined the Second Battalion Fourth Marines (“The Magnificent Bastards”). I am a
“Mustang,” a Marine who rose through the ranks, from Private to Captain, and after returning to
the United States as a Captain, I was assigned to train Navy SEALs.

2. In 1971, after leaving the U.S.M.C, I attended Brooklyn Law School on the G.I.
Bill. In 1974, I was admitted to the New York Bar. For the next 42 years I practiced criminal
defense law, federal and state, mostly in the New York City area.

3. During my last 12 years of practice, I also became a writer and producer. In 2004,
I associated with LTV, Long Island Public Access Television, producing and hosting East End
Veterans, and later Gung Ho, covering our endless wars and injustice everywhere, with special
focus on government misconduct.

4, In June 2015 I had to retire due to service-connected disabilities - the most

serious, Chronic Ischemic Coronary Heart Disease, diagnosed in 2013 as caused by my constant
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exposure to Agent Orange in Vietnam (of course, the phrase Agent Orange was not part of our
jargon when we served). I still write non-fiction short stories and produce Gung Ho on public
television.

5. On May 21, 2018, I called Richard E. Lerner, Esq. to get a meeting with him and
his client, Frederick M. Oberlander Esq. Until then I had never communicated with either. I
wanted to talk to them about Felix Sater and a former client of mine, Daniel Persico Jr. My
interest had been piqued by a petition for writ of certiorari they’d filed, which I had found online.
Exh A. It covered United States v. Coppa, 00-CR-196 (EDNY) (Glasser, J.), a case where I had
represented defendant Daniel Persico Jr. In Coppa, Sater, Salvatore Lauria, Gennady Klotsman,
and others had “flipped,” had become cooperators, more formally cooperating witnesses,
thereafter working for the FBI and DOJ against the other defendants in return for the
government’s promise of leniency.

6. On May 22, 2018, I met with Mr. Oberlander and Mr. Lerner in East Hampton,
New York. They told me that Sater had been claiming that (1) Daniel Persico Jr. first learned that
Sater and Lauria had flipped in or about 2012; and that (2) he had only learned it because Mr.
Oberlander and Mr. Lerner had illegally leaked sealed material to the media and had improperly
disclosed same to Gerald Shargel Esq. because he had represented Persico in the Coppa case so
would give them to Persico who would in revenge have Sater and Lauria killed.

7. Those claims are incredible. For more than two years, from arranging his
voluntary surrender and appearing at his March 2, 2000 arraignment, through his February 26,
2002 guilty plea and May 8, 2002 surrender to the Bureau of Prisons at Fort Dix, I was the sole
attorney of record for Daniel Persico Jr. It is inconceivable that he had somehow also engaged

Mr. Shargel on the side and yet I never knew of it.
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8. In the meeting, I repeated what I’d said on the phone. That both Daniel Persico Jr.
and I knew, on March 2, 2000, the day of arraignment, our first court appearance, that Sater,
Lauria, and Klotsman were cooperating. Within hours of that appearance, where I represented
Persico, he was released on a million-dollar bond and we then read the Indictment together,
circled the names of “unindicted co-conspirators,” including Sater, Lauria, and Klotsman, and
marked them “C/W,” cooperating witness. It was obvious to me and Persico that they had
“flipped.” So, on March 2, 2000, they for all intents and purposes had been overtly outed by the
DOJ, because they had been identified as unindicted co-conspirators in the indictment in
circumstances which made it obvious.

9. This was confirmed on February 2, 2001, when in an open-court hearing before
Judge Glasser, Sater was identified as a government cooperator. Exh. B at 26. The transcript
shows I was present and participated. Exh. B at 4. To my best recollection, my client was present
as well.

10. Because my client Daniel Persico Jr. and I knew Lauria was cooperating, I had a
private investigator find him to learn whether he would testify if we went to trial. Lauria told my
investigator he “wouldn’t hurt Danny.” My contemporaneous handwritten notes confirm my
recollection. And while one would presume that if he didn’t know already, by then, after my
investigator found him, Lauria had to have known that Persico knew of his cooperation, here one
doesn’t have to presume, because Lauria’s February 5, 2004 sentencing transcript confirms that
he, his attorneys, and the FBI had been aware of my investigator’s visit for years and confirms
that they knew full well that Persico had obviously known of Lauria’s cooperation, because it

shows them telling Judge Glasser that Persico had had an investigator find Lauria and that it was
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a concern because, they said, Persico had viewed Lauria’s cooperation as the ultimate betrayal.
Exh. C at 9,

11. My notes further confirm that I had naturally then also reached out to the other
cooperators to see if I could get the same assurance from them, first contacting Myles Mahlman
Esq., Felix Sater’s attorney, who did in fact give me the same assurance, then to the attomey for
Klotsman, who did not respond.

12. _ Believing confidentiality didn’t bar it, I showed Mr. Oberlander and Mr. Lerner
files relating to my defense of Daniel Persico Jr. They held case documents which had been
either prepared and filed, or given me, by the government during the Coppa case. All were free
of any protective or sealing order, or other restriction on their use. I gave Mr. Oberlander and
Mr. Lerner the originals of four documents, which I signed and dated, and photocopies of my
remaining files.

13. One of the four original documents I gave them is Lauria’s Cooperation
Agreement of December 10, 1998, signed by Lauria, his attorney, AUSA Jonathan 5. Sack, and
Supervising Assistant United States Attorney Andrew Weissman. Another is a related Consent
Order of December 10, 1998, “So Ordered” by the Hon. I. Leo Glasser and signed by the same
individuals as signed the Cooperation Agreement. The other two are FBI 302 debriefing reports
on Lauria and Klotsman. All of these were given to me by the government as 3500 disclosures in
2001, while my client Daniel J. Persico Jr. was still pleading not guilty. Exh. D is a true and
correct set of the four originals I gave them, at, respectively, pages 1, 8, 11, and 23. Though they
each bear government evidence stamps, I’m not surprised that they’re not in the Coppa docket,

as my client later entered a guilty plea, so the government never put them in evidence. But I am
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surprised that the Consent Order is not on what I’m told is Lauria’s docket, Exh. E, as it is an
order of an Article III court.

14. T have reviewed Exh. F, which has filings by Sater and Lauria, The first is a
publicly docketed letter, dated October 23, 2014, by Sater’s attorneys Mobargha and Beys to
Judge Cogan. Exh. F at 1. It asks for contempt charges against Mr. Oberlander and Mr. Lerner
for attempting to cause the murder of Sater by exposing his cooperator status so other defendants
would pay their clients (Kriss and Ejekam) an extortionate settlement lest they too be killed or
caught in scandal. Exh. F. at 7, And, Mr. Oberlander and Mr. Lerner told me that, at a hearing a
day later, on October 24, 2014, another Sater lawyer, Robert Wolf, successfully pleaded with
Judge Cogan to let him read aloud that accusatory portion into the record because it involved
attempted murder. It also includes a complaint filed by the same lawyers in New York Supreme
Court against Jody Kriss, Mr. Lerner and Mr. Oberlander’s client, in behalf of Salvatore Lauria,
making similar allegations, viz. that Daniel Persico Jr. first learned in or about 2012 that Sater
and Lauria were cooperators, because they were outed by Mr. Oberlander and Mr. Lerner (acting
in behalf of Kriss) and that Persico, having supposediy only then just learned of their
cooperation, tracked down Lauria and publicly threatened to kill him and Sater. Exh. F at 16, 30.

15. [have reviewed various documents that I have been told were publicly filed in the
Coppa case and remain part of the public record, maintained by the National Archives for near
20 years, including papers filed by counsel for other Coppa defendants, for example Jeffrey
Lichtman, who, representing defendant Daniel Lev, requested all exculpatory material on
cooperating witness [sic] Felix Sater. Exh. G. at 15. Most significant is a letter dated November
21, 2001, from EDNY AUSA Eric Corngold confirming that Sater and Lauria were cooperating

witnesses. Exh. G. at 2.
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16. Based on my knowledge of the Coppa case, and my forty-two years’ experience
as a criminal lawyer, and my overall life experiences, I state with certainty that anyone who has
been associated in any way with Sater’s related case and represents to any investigators,
prosecutors or courts that Daniel Persico Jr. first learned in or about 2012 that Sater and Lauria
were cooperators is knowingly lying. Further, anyone who claims that Sater and Lauria were first
“outed” by Mr. Oberlander and/or Mr. Lerner sometime in or after 2010 is knowingly lying. The
truth is that (1) Daniel Persico Jr. (and I) knew this on March 2, 2000, because it was obvious
from the content and nature of the Indictment; and (2) we were thereafter informed of this, by the
government, in the February 2001 severance hearing, by the its acquiescence to describing Sater
as a government cooperator and again later in 2001 by the explicit 3500 disclosures of Lauria’s
cooperation supra, which together merely served to confirm what Perisco (and I) had long
known; and (3) the public was “told” at the same time, by the open court nature of that hearing
and by the public filing of the Lichtman Brady motion and the Corngold 3500 letter to Ray.

17. But the following I can’t explain. Exh. H has what I’m told is the Coppa docket as
shown on PACER on December 14, 2010 and August 28, 2012. The headers show Daniel
Persico Jr. as Defendant 3 and me as his counsel. Exh. H at 1. Exh. I is I’m told the Coppa
docket as shown on PACER today. For some reason, my client and I have been “made to
disappear” from the header. Exh I at 1. This could be an attempt to stop anyone from knowing
that I, and not Gerald Shargel, Esq., represented Daniel Persico Jr. in U.S. v. Coppa, et al. Or it
could be an attempt to stop anyone from proving that Sater’s lawyers, or the government, could
have easily checked the truth on PACER thus were, at best, recklessly indifferent in their

accusations. Or it could be both.
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18. Since 2002, the end of Daniel Persico Jr.’s case, only one person has contacted
me about the case, a reporter from the Wall Street Journal, who called about six months ago
asking if he could be put in touch with him. I declined to help him, though it would not likely
have mattered because, as I had not then known at the time, Persico had already passed away.

19. For emphasis, at no time over did the FBI, DOJ, or Felix Sater or his counsel ever
ask me about Daniel Persico Jr.

20. I gave the above-listed materials to Mr. Oberlander and Mr. Lerner to aid them in
their legal fight against Sater and his attorneys. I stand ready to testify for them upon their
request.

ae oR oe

May 29, 2018 Sworn to before me this 29" day of May, 2018:
East Hampton, New York

oseph Giannini Notary Public
SANFORD I. POSNICK
NOTARY PUBLIC, STATE OF NEW YORK.
Ragistration No. 01P06372479
Qualified in Suffolk County

My Commission Expires March 19, 2022
